      Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 1 of 20



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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   GEORGE GOODRITZ                    : No.
                                      :
                          Plaintiff,  :
           v.                         :
                                      :
   1627 PS ASSOCIATES L.P.            :
                                 and :
   E-Z PARKING MANAGEMENT, INC. :        COMPLAINT
                                      :
                           Defendants :

                              PRELIMINARY STATEMENT

  George Goodritz (the “Plaintiff”), by and through his counsel, brings this lawsuit against

1627 PS Associates, L.P., and E-Z Parking Management Inc., seeking all available relief

under the Americans with Disabilities Act for the failure to comply with the Act’s

accessibility requirements.     Plaintiff is seeking injunctive relief requiring the

Defendants to remove the accessibility barriers which exist at their parking facility.

The allegations contained herein are based on personal experience of the Plaintiff.
      Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 2 of 20



                                   I. JURISDICTION

1. This action is brought pursuant to the Americans with Disabilities Act of 1990

   (“ADA”), 42 U.S.C. § 12101 et seq.

2. This civil controversy arises under the laws of the United States, and jurisdiction in

   conferred upon this District Court, pursuant to 28 U.S.C. §1331.


                                  II. VENUE

3. All actions complained of herein took place within the jurisdiction of the United States

   District Court for the Eastern District of Pennsylvania.

4. Venue is proper in this judicial District as provided by 28 U.S.C. §1391(b).

                                III. PARTIES

5. Plaintiff is a 69 year-old adult male who currently resides in Montgomery County, in

   the Commonwealth of Pennsylvania.

6. Plaintiff is a disabled individual.

7. 1627 PS Associates, L.P. (“Defendant 1627”) is a domestic limited partnership

   registered with the Pennsylvania Department of State under entity identification

   number 4341737.

8. According to the Philadelphia Board of Revision of Taxes, Defendant 1627 is listed as

   the owner of the property located at 1627-1645 Pine Street, Philadelphia, Pennsylvania

   19103, having a tax account number of 885728080.

9. Defendant 1627 has a business address of 111 Chestnut Street, Philadelphia,

   Pennsylvania 19106.

10. E-Z Park, Inc., (“Defendant E-Z”) is a domestic corporation registered with the

   Pennsylvania Department of State under entity identification number 702660.
      Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 3 of 20



11. Defendant E-Z has a business address of 111 Chestnut Street, Philadelphia,

   Pennsylvania 19106.

12. Defendant 1627 and Defendant E-Z are collectively referred to herein as the

   “Defendants.”


                               IV. STATEMENT OF FACTS

The Parking Facility

13. Defendant 1627 owns a public parking lot located at 1627-1645 Pine Street,

   Philadelphia, Pennsylvania 19103 (the “Parking Facility”).

14. Upon information and belief, Defendant E-Z manages the Parking Facility for

   Defendant 1627.

15. For a fee, an individual can park a vehicle in the Parking Facility at the prevailing

   market rates.

16. The Parking Facility has approximately seventy-five (75) parking spaces.

17. There are no parking spaces which contain any handicap-accessible access aisles for a

   car. (See Exhibit A)

18. There are no parking spaces which contain any handicap-accessible access aisles for a

   van.

19. None of the parking spaces have any handicap-accessibility signs designating the

   parking spaces as being handicap accessible.

20. Customers can self-park their vehicles at the Parking Facility during off-peak times.

21. The Parking Facility is staffed by parking attendants who park the vehicles when it is

   necessary to double park and triple park cars to maximize the number of vehicles that

   the lot can contain.
      Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 4 of 20



22. The Parking Facility does not contain any marked passenger loading zones with marked

   access aisles.

The Plaintiff

23. The Plaintiff is a disabled individual within the meaning of the ADA.

24. The Plaintiff has difficulty walking.

25. The Plaintiff possesses a handicapped parking placard issued by the Commonwealth of

   Pennsylvania.

26. The Plaintiff’s handicapped parking placard permits him to park his vehicle in spaces

   designated as being handicap-accessible.

27. The Plaintiff frequently travels to Philadelphia and is often unable to find parking on

   the streets.

28. Plaintiff parks in a parking garage or parking lot when on-street parking is not available.

29. The Plaintiff has previously patronized the Parking Facility.

30. The Plaintiff would patronize the Parking Facility in the future, but is currently deterred

   because of the lack of usable handicap-accessible parking places.

                    THE AMERICANS WITH DISABILITIES ACT

31. Congress enacted the Americans with Disabilities Act (“ADA”) in 1990 with the

   purpose of providing “[a] clear and comprehensive national mandate for the elimination

   of discrimination against individuals with disabilities” and “[c]lear, strong, consistent,

   enforceable      standards   addressing    discrimination     against   individuals    with

   disabilities.” 42 U.S.C. § 12101(b).

32. The ADA provides a private right of action for injunctive relief to “any person who is

   being subject to discrimination on the basis of disability.” 42 U.S.C. § 12188(a)(1).
      Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 5 of 20



33. Under the ADA, a disability is defined as “(A) a physical or mental impairment that

   substantially limits one or more major life activities of such individual; (B) a record of

   such an impairment; or (C) being regarded as having such an impairment.” 42 U.S.C.

   § 12102(1).

34. Title III of the ADA provides that “[n]o individual shall be discriminated against on

   the basis of disability in the full and equal enjoyment of the goods, services, facilities,

   privileges, advantages, or accommodations of any place of public accommodation by

   any person who owns, leases (or leases to), or operates a place of public

   accommodation.” 42 U.S.C. § 12182.

35. “It shall be discriminatory to afford an individual or class of individuals, on the basis

   of a disability or disabilities of such individual or class, directly, or through contractual,

   licensing, or other arrangements with the opportunity to participate in or benefit from

   a good, service, facility, privilege, advantage, or accommodation that is not equal to

   that afforded to other individuals.” 42 U.S.C. § 12182(b)(1)(A)(ii).

36. A “public accommodation” are private entities whose operations affect commerce. See

   42 U.S.C. § 12181(7).

37. In relevant part, Title III requires that the facilities of a public accommodation be

   “readily accessible to and usable by individuals with disabilities, except where an entity

   can demonstrate that it is structurally impracticable.” 42 U.S.C. § 12183(a)(1).

38. Discrimination under the ADA includes the failure to remove architectural barriers

   where such removal is easily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).

39. “Readily achievable” means easily accomplishable and able to be carried out without

   much difficulty or expense. 28 C.F.R. § 36.104.
         Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 6 of 20



40. Under Title III, places of public accommodation and commercial facilities that are

      newly constructed for occupancy beginning after January 26, 1992, must be “readily

      accessible to and usable by” individuals with disabilities. 28 C.F.R. § 36.401(a) (1).

41. “Facility” means all or any portion of buildings, structures, sites, complexes,

      equipment, rolling stock or other conveyances, roads, walks, passageways, parking

      lots, or other real or personal property, including the site where the building, property,

      structure, or equipment is located. 28 C.F.R. § 35.104.

42. Existing facilities whose construction predates January 26, 1992, must meet the lesser

      “barrier removal standard,” which requires the removal of barriers wherever it is

      “easily accomplishable and able to be done without undue burden or expense.” 28

      C.F.R. § 36.304(a).

43. March 15, 2012 was the compliance date for using the 2010 ADA Standards for

      program accessibility and barrier removal.1

44. Discrimination, for purposes of a public accommodation, includes “[a] failure to design

      and construct facilities for first occupancy later than 30 months after July 26, 1990, that

      are readily accessible to and usable by individuals with disabilities” except where an

      entity can demonstrate that it is structurally impracticable to meet the requirements set

      forth by the ADA. 42 U.S.C. § 12183.

45. Under the ADA, businesses or privately-owned facilities that provide goods or services

      to the public have a continuing obligation to remove accessibility barriers in existing

      parking lots when it is readily achievable to do so.




1
    https://www.ada.gov/2010ADAstandards_index.htm
       Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 7 of 20



46. The restriping/repainting of the parking space borders in relatively inexpensive, and

    should be readily achievable and easily accomplishable.

Accessible Parking under the ADA

47. The 1991 implementing rules and the 2010 revisions to the ADA set forth the following

    requirements for handicap-accessible parking spaces:2


    Total Number of Parking Spaces Provided                   Minimum Number of Required
              in Parking Facility                              Accessible Parking Spaces

                          1 to 25                                            1
                         26 to 50                                            2
                         51 to 75                                            3
                        76 to 100                                            4
                       101 to 150                                            5
                       151 to 200                                            6
                       201 to 300                                            7
                       301 to 400                                            8
                       401 to 500                                            9
                                                            2% of the total number of parking
                      501 to 1000
                                                                           spaces
                                                          20, plus 1 for each 100 parking spaces
                    More than 1001
                                                                         over 1000

48. The ADA requires that handicap-accessible parking spaces be at least 96 (ninety-six)

    inches wide. See Appendix A to Part 36- Standards for Accessible Design, 28 C.F.R.

    Part 36.3

49. The width of a parking space is measured from the center of each parking line bordering

    the parking space.4 (See Exhibit B)




2
  https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#pgfId-1010282
3
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
4
  Id.
       Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 8 of 20



50. For cars, the ADA requires that there be an access isle for the handicap-accessible

    parking space that is at least 60 (sixty) inches wide. (See Exhibit B)

51. For vans, the ADA requires that there be an access aisle for the handicap-accessible

    parking space that is at least 96 (ninety-six) inches wide.5

52. The 1991 ADA regulations require that one in every eight accessible spaces must be

    van accessible.6

53. The 2010 ADA regulations state that one in every six accessible spaces must be van

    accessible.7

54. The path a person with a disability takes to enter and move through a facility is called

    an "accessible route."8

Accessible Routes under the ADA

55. Exterior accessible routes may include parking access aisles, curb ramps, crosswalks

    at vehicular ways, walks, ramps, and lifts.9

56. This route, which must be at least three feet wide, must remain accessible and not be

    blocked.10

57. In parking facilities that do not serve a particular building, accessible parking shall be

    located on the shortest accessible route of travel to an accessible pedestrian entrance of

    the parking facility.11



5
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/guide-to-the-ada-standards/chapter-5-parking#van
6
  https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
7
  Id.
8
  http://www.ada.gov/regs2010/titleII_2010/title_ii_primer.html
9
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#3. MISCELLANEOUS
10
   Id.
11
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.3
       Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 9 of 20



58. Accessible routes must connect parking spaces to accessible entrances.12

59. ADA accessibility standards require that accessible parking spaces in a parking garage

     be located on the shortest accessible route from adjacent parking to the accessible

     entrance of the building.13

60. ADA Guidance Standards provide that “[a] "path of travel" includes a continuous,

     unobstructed way of pedestrian passage by means of which the altered area may be

     approached, entered, and exited, and which connects the altered area with an exterior

     approach (including sidewalks, streets, and parking areas), an entrance to the facility,

     and other parts of the facility.”14

61. “An accessible path of travel may consist of walks and sidewalks, curb ramps and other

     interior or exterior pedestrian ramps; clear floor paths through lobbies, corridors,

     rooms, and other improved areas; parking access aisles; elevators and lifts; or a

     combination of these elements.”15

Valet Parking

62. The 1991 Standards of the ADA and the 2010 Standards of the ADA require parking

     facilities that provide valet parking services to have an accessible passenger loading

     zone.16

63. Facilities with valet parking must have accessible passenger loading zone that has an

     access aisle that is a minimum of 60 (sixty) inches wide and extends the full length of

     the vehicle pull-up space. (See Exhibit C)



12
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
13
   http://www.ada.gov/adata1.pdf
14
   https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#curbramps
15
   Id.
16
   https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
      Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 10 of 20



64. The 1991 ADA Standards and the 2010 ADA Standards both require a passenger

     loading zone to have a vehicle pull-up space that is a minimum of 96 (ninety-six) inches

     wide and a minimum of 20 (twenty) feet in length.17 (See Exhibit C)

65. The passenger loading zone must be located on an accessible route to the entrance of

     the facility.18

Signage and the ADA

66. The ADA standards require the use of the International Symbol of Accessibility (ISA)

     to identify parking spaces which are reserved for use by individuals with disabilities.19

     (See Exhibit D)

67. Handicap-accessible parking spaces must be designed as “reserved” by a showing the

     ISA.

68. The ISA must be used to identify accessible passenger loading zones.

69. Directional signage must be used at inaccessible entrances to provide directions to the

     nearest accessible route.

70. Parking space identification signs shall be 60 (sixty) inches minimum above the finish

     floor or ground surface measured to the bottom of the sign.20




17
   https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
18
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.6.6
19
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.1
20
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
     Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 11 of 20



                                          COUNT I –

       FAILURE TO PROVIDE THE PROPER NUMBER OF HANDICAP-
                   ACCESSIBLE PARKING SPACES

71. All preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

72. The United States Supreme Court recognized the term “major life activities” includes

   walking. Bragdon v. Abbott, 524 U.S. 624, 638–39 (1998).

73. The Plaintiff is a disabled individual within the meaning of the ADA.

74. The major life activity that the constitutes the Plaintiff’s disability is his difficulty

   walking distances.

75. Defendants failed to provide any parking spaces that were labeled as “handicap

   accessible” at the Parking Facility.

76. Defendants failed to provide any parking spaces which had a sixty (60) inch wide

   adjacent access aisle.

77. Defendants failed to provide any handicap accessible parking spaces for vans with an

   accompanying 96-inch wide adjacent access aisle.

78. The Parking Facility’s failure to provide more than handicap-accessible parking spaces

   has created an accessibility barrier for the Plaintiff, and other similarly situated disabled

   individuals.

79. Defendant 1627 is responsible for ensuring the Parking Facility’s compliance with the

   ADA.

80. Defendant E-Z is responsible for ensuring the Parking Facility’s compliance with the

   ADA.
     Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 12 of 20



81. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements by designating available non-handicap-accessible spaces as handicap-

   accessible space for a car.

82. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements by designating non-handicap-accessible spaces as handicap-accessible

   space for a van.

83. Compliance with the handicap parking space requirements at the Parking Facility is

   readily achievable.

84. The Defendants’ failure to comply with the ADA has denied the Plaintiff the full and

   equal enjoyment of the parking offered by the Parking Facility.

85. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA.

WHEREFORE, Plaintiff, seeks to injunctive relief to require the Defendant to comply with

the Americans with Disabilities Act, together with costs and mandatory attorneys’ fees

under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendant as the Court deems just and proper.

                                       COUNT II -

FAILURE TO PROVIDE A HANDICAP-ACCESSIBLE PASSENGER LOADING
                  AREAS AND ACCESS LANES

86. All preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

87. The Parking Facility does not have any marked valet-area passenger loading zones.

88. The Parking Facility does not have a marked access aisle that is 60 (sixty) inches wide

   that is adjacent to the vehicle pull-up space for any valet parking.
     Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 13 of 20



89. The Parking Facility does not have a passenger loading zone with a vehicle pull-up

   space that is a minimum of 96 (ninety-six) inches wide and a minimum of 20 (twenty)

   feet in length.

90. The Parking Facility does not have any marked accessible routes leading to the outside

   of the lot.

91. The Parking Facility’s failure to comply with the parking accessibility requirements of

   the ADA has created an accessibility barrier for the Plaintiff, and other similarly

   situated disabled individuals.

92. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements by creating a marked access aisles and loading zones.

93. Compliance with the ADA’s parking requirements at the Parking Facility is readily

   achievable.

94. The Defendants’ failure to comply with the ADA has denied the Plaintiff the full and

   equal enjoyment of the parking offered by the Parking Facility.

95. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA.

WHEREFORE, Plaintiff seeks to injunctive relief to require the Defendants to comply

with the Americans with Disabilities Act, together with costs and mandatory attorneys’

fees under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief

from Defendants as the Court deems just and proper.
     Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 14 of 20



                                       COUNT III_ -

             FAILURE TO COMPLY WITH THE SIGNAGE & ACCESS
                    REQUIRMENTS UNDER THE ADA


96. All of the preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

97. The Parking Facility does not have any directional signs for the nearest accessible

   route.

98. The Parking Facility does not have any marked passenger loading zones for any valet

   area.

99. The Parking Facility does not have any handicap-accessible parking signs.

100. The Parking Facility does not have any van-accessible handicap-accessible parking

   signs.

101. The Parking Facility does not have any marked accessible routes.

102. The Defendants can remedy their non-compliance by reallocating existing parking

   spaces and painting border lines which conform to the dimensional requirements of the

   ADA for handicap-accessible parking spaces and access aisles.

103. The Defendants’ failure to comply with the ADA handicap-accessible parking

   requirements has denied the Plaintiff the full and equal enjoyment of parking offered

   by the Parking Facility.

104. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA handicap-accessible parking requirements.
     Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 15 of 20



WHEREFORE, Plaintiff, seeks to injunctive relief to require the Defendant to comply with

the Americans with Disabilities Act, together with costs and mandatory attorneys’ fees

under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendant as the Court deems just and proper.



Respectfully submitted,
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Dated: June 14, 2017
     Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 16 of 20



                             CERTIFICATE OF SERVICE

I, Franklin J. Rooks Jr., certify that I served Plaintiff’s Complaint via the Court’s ECF

system.



By: FJR5566

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Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 17 of 20



                           EXHIBIT A
     Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 18 of 20




                                     EXHIBIT B


(Source:https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-parking#spaces)
     Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 19 of 20




                                       EXHIBIT C



Source: https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-passenger-loading-
zones
Case 2:17-cv-02651-PBT Document 1 Filed 06/13/17 Page 20 of 20



                         EXHIBIT D
